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                            UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF OHIO
                             WESTERN DIVISION AT DAYTON


UNITED STATES OF AMERICA,                         :        Case No.: 3:23-CR-113
                                                  :
                     Plaintiff,                   :        JUDGE MICHAEL J. NEWMAN
                                                  :
                        vs.                       :        JOINT MOTION FOR
                                                  :        DEFENDANT TO ENTER PLEA
CAROL CLENDENIN,                                  :
                                                  :
                    Defendant.                    :



          The parties hereby respectfully move the Court to schedule a change of plea in this

matter.



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